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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

GUN OWNERS OF AMERICA, INC.,                  )
8001 Forbes Place                             )
Suite 202                                     )
Springfield, VA 22151, and                    )
                                              )
GUN OWNERS FOUNDATION                         )
8001 Forbes Place                             )
Suite 202                                     )
Springfield, VA 22151,                        )
                                              )
                         Plaintiffs,          )              Civil Action No. 22-3379
                                              )
 v.                                           )
                                              )
FEDERAL BUREAU OF                             )
INVESTIGATION                                 )
J. Edgar Hoover Building                      )
935 Pennsylvania Avenue, N.W.                 )
Washington, D.C. 20535-0001                   )
                                              )
                       Defendant.             )
                                              )

                                           COMPLAINT

       Gun Owners of America, Inc. and Gun Owners Foundation (together “Plaintiffs”) bring this

action against Defendant the Federal Bureau of Investigation (“FBI” or “Defendant”) to compel

compliance with the Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”). As grounds therefor,

Plaintiffs allege the following:

                                   JURISDICTION AND VENUE

        1.       The Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

 and 28 U.S.C. § 1331.

        2.       Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

 § 1391(e).
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                                                 PARTIES

           3.        Plaintiff Gun Owners of America (“GOA”) is a California non-stock corporation

with its principal place of business in Springfield, Virginia. GOA is organized and operated as a

non-profit membership organization that is exempt from federal income taxes under Section

501(c)(4) of the U.S. Internal Revenue Code. GOA seeks to promote social welfare through

informing and educating the public on and conducting activities in defense of the Second

Amendment and the right to keep and bear arms.

       4.          Plaintiff Gun Owners Foundation (“GOF”) is a Virginia non-stock corporation, with

its principal place of business in Springfield, Virginia. GOF is organized and operated as a non-

profit legal defense and educational foundation that is exempt from federal income taxes under

Section 501(c)(3) of the U.S. Internal Revenue Code. GOF is supported by gun owners across the

country.

       5.          Defendant FBI is a component of the Department of Justice, a department of the

United States Government, and is headquartered at 935 Pennsylvania Avenue, N.W., Washington,

D.C. 20535-0001. Defendant is an agency within the meaning of 5 U.S.C. § 552(f). Defendant has

possession, custody, and control of records to which Plaintiffs seek access.

                                      STATEMENT OF FACTS

       6.          On November 29, 2021, Plaintiffs submitted a FOIA request to Defendant, via the

FBI eFOIPA portal. See Exhibit A.

       7.          Plaintiffs’ FOIA sought the following records:

           (a)      All video recorded or otherwise taken by the FBI (or any of its employees or
                    contractors) during the Kenosha, Wisconsin riots beginning on August 23, 2020 and
                    specifically including video captured, recorded or taken on August 25, 2020.

           (b)      All video or records of other surveillance (including but not limited to audio
                    recordings, photographs, records showing interception of phone calls, text
                    messages, internet traffic or other cellular data, or use of “stingrays”) recorded or
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                  otherwise taken by the FBI (or any of its employees or contractors) at or near the
                  location of the 2020 Virginia Citizens Defense League (“VCDL”) Lobby Day,
                  which took place on January 20, 2020 at the Virginia State Capitol in Richmond,
                  Virginia.

         (c)      All video recorded or otherwise taken by the FBI (or any of its employees or
                  contractors) during the January 6, 2021 events at the United States Capitol.

        8.       By letter dated December 9, 2021, Defendant responded that it had found no

records with respect to part (b) of Plaintiffs’ request (which Defendant assigned Request No.

1511579-000).

        9.       By letter dated December 9, 2021, Defendant sent a letter denying part (a) of

Plaintiffs’ request, claiming the records were exempt pursuant to 5 U.S.C. § 552(b)(7)(A) (law

enforcement records) (which Defendant assigned Request No. 1511573-000). See Exhibit B.

        10.      By letter dated June 28, 2022, Defendant responded that it had found no records

with respect to part (c) of Plaintiffs’ request (which Defendant assigned Request No. 1511605-

000).

        11.      By letter December 22, 2021, Plaintiffs timely appealed Defendant’s denial of part

(a) of their request. See Exhibit C.

        12.      By letter dated April 25, 2022, Defendant granted Plaintiffs’ appeal, and remanded

Plaintiffs’ request to the FBI “for processing.” See Exhibit D.

        13.      Rather than processing Plaintiffs’ request, by letter dated July 20, 2022, Defendant

denied Plaintiffs’ request for a fee waiver with respect to part (a) of their request, claiming that it

would produce the videos Plaintiffs requested, but only on “72 CDs at $15.00 each, less $5.00 credit

for the first CD.” See Exhibit E.

        14.      By letter dated August 1, 2022, Plaintiffs timely appealed Defendant’s fee waiver

denial. See Exhibit F.

        15.      Defendant did not respond to or rule on Plaintiffs’ appeal of its fee waiver denial.
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       16.       Rather, by email dated October 18, 2022, Defendant announced that it had

uncovered “17 hours and 47 minutes of video media potentially responsive” to Plaintiffs’ request,

and reported that the “current average time” to process these records “is approximately 79 months

to complete” (nearly seven years). Exhibit G.

       17.       DOJ regulations state that “[a]dverse determinations … include denials involving

fees or fee waiver matters….” 28 C.F.R. § 16.6(d).

       18.       Plaintiffs timely appealed the FBI’s adverse determination in the form of the fee

waiver denial.

       19.       Pursuant to 5 U.S.C. § 552(a)(6)(A)(i), Defendant was required to determine

whether to comply with Plaintiffs’ request within twenty (20) working days of receipt and to

notify Plaintiffs immediately of its determination, the reasons therefore, and the right to appeal

any adverse determination.

       20.       To date, no determination has been received from the FBI about the status of

Plaintiffs’ appeal of Defendant’s fee waiver denial, in violation of 5 U.S.C. § 552(a)(6)(A)(ii)

which mandates a determination by the agency within twenty (20) business days of the appeal.

Because the FBI failed to respond timely to Plaintiffs’ appeal, or otherwise to process and produce

records, Plaintiffs’ administrative remedies are deemed exhausted. See 5 U.S.C. § 552(a)(6)(C)(i).

       21.       As of the date of this Complaint, the Defendant has failed to: (i) to fully respond to

Plaintiffs’ FOIA request; (ii) to make a determination regarding Plaintiffs’ appeal within 20

business days; (iii) to produce documents in response to Plaintiffs’ request within 20 business

days; and (iv) produce all the requested records or otherwise demonstrate that the requested

records are exempt from production.
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        22.        Plaintiffs are nonprofit organizations seeking information with which to inform and

educate the public about the workings of government. Release of the records requested is in the

public interest.

                                          CAUSE OF ACTION
                                   (Violation of FOIA, 5 U.S.C. § 552)

        23.        Plaintiffs reallege the above paragraphs as though fully set forth herein.

        24.        Defendant has failed to process and make a determination regarding Plaintiffs’

November 29, 2021 FOIA request within the statutory time limit, and is unlawfully withholding

records requested by Plaintiffs pursuant to 5 U.S.C. § 552.

        25.        Plaintiffs are being irreparably harmed by reason of Defendant’s unlawful

withholding of requested records, and Plaintiffs will continue to be irreparably harmed unless

Defendant is compelled to conform its conduct to the requirements of the law.


                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs requests that the Court grant all appropriate relief for

 the violations of FOIA alleged above, including:

              a. An order and judgment requiring the Defendant to conduct a search for any and

                   all records responsive to Plaintiffs’ FOIA request, and to demonstrate that it

                   employed search methods reasonably likely to lead to the discovery of all

                   records responsive to Plaintiffs’ request;

              b. An order and judgment requiring the Defendant to produce, by a date certain, any

                   and all non-exempt records responsive to Plaintiffs’ FOIA request and a Vaughn

                   index of any responsive records withheld under claim of exemption;
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        c. An order and judgment permanently enjoining Defendant from continuing to

            withhold any and all non-exempt records in this case that are responsive to

            Plaintiffs’ FOIA request;

        d. Attorneys’ fees and costs to Plaintiffs pursuant to any applicable statute or

            authority, including 5 U.S.C. § 552(a)(4)(E); and

        e. Any other relief that this Court in its discretion deems just and proper.


                                                       /s/ Jeremiah L. Morgan
                                                   Jeremiah L. Morgan
                                                   (D.C. Bar No. 1012943)
                                                   Robert J. Olson
                                                   (D.C. Bar No. 1029318 )
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                                                   Counsel for Plaintiffs
Dated: November 3, 2022                            GUN OWNERS OF AMERICA, INC. and
                                                   GUN OWNERS FOUNDATION
